Case: 6:13-cr-00020-GFVT-HAI          Doc #: 1057 Filed: 06/23/16         Page: 1 of 9 - Page
                                         ID#: 3692



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

 UNITED STATES OF AMERICA,                   )
                                             )
      Plaintiff,                             )         No. 6:13-CR-20-GFVT-HAI-3
                                             )
 v.                                          )       RECOMMENDED DISPOSITION
                                             )
 BOBBY DARRELL CANADA, II,                   )
                                             )
      Defendant.                             )
                                    *** *** *** ***
     On referral from District Judge Van Tatenhove, the Court considers reported violations of

supervised release conditions by Defendant Bobby Canada, II. District Judge Van Tatenhove

entered a judgment against Defendant on July 8, 2014, following a guilty plea to conspiracy to

manufacture fifty grams or more of a methamphetamine mixture. D.E. 662. Defendant was

sentenced to forty-one months of imprisonment followed by a forty-eight month term of

supervised release. Id. On September 17, 2015, Judge Van Tatenhove, pursuant to 18 U.S.C. §

3582(c)(2), reduced Defendant’s sentence to thirty-three months. D.E. 990. Defendant began

his supervised release term on November 6, 2015.

       On February 18, 2016, a Report on Offender Under Supervision was issued by the United

States Probation Office (USPO). D.E. 1033. The report indicated that Defendant had provided a

urine specimen that tested positive for oxycodone, amphetamine, and buprenorphine, following

an admission of the use to the USPO. Judge Van Tatenhove approved the USPO’s request for no

action, and Defendant was referred to outpatient substance abuse counseling. Id.

       On April 20, 2016, the USPO submitted a Request for Modifying the Conditions or Term

of Supervision with Consent of the Offender after Defendant provided a urine specimen that

tested positive for methamphetamine and oxycodone and a subsequent specimen that tested
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 2 of 9 - Page
                                          ID#: 3693



positive for oxycodone.     D.E. 1044.    The USPO requested that Defendant be required to

complete an Intensive Outpatient Program (IOP) and pay for the costs of the program, and that

Defendant be required to report to the USPO for weekly drug testing for a period of three

months. Id. Judge Van Tatenhove approved the Request on April 20, 2016.

       On May 26, 2016, the USPO submitted a Supervised Release Violation Report (the

“Report”), and secured a warrant from Judge Van Tatenhove. The Report charges Defendant

with two violations of his supervised release. First, in Violation #1, the Report alleges that

Defendant violated the condition of his release which requires him to “refrain from excessive use

of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance

or any paraphernalia related to any controlled substances, except as prescribed by a physician.”

Specifically, the Report alleges that, on May 10, 2016, Defendant provided a urine specimen that

tested positive for oxymorphone, a metabolite of oxycodone. This is a Grade C Violation.

       Second, in Violation #2, the Report charges Defendant with a violation of the condition

of his supervised release that requires that he “not commit another federal, state, or local crime.”

Noting the Sixth Circuit’s decision that use of a controlled substance includes possession and

Defendant’s criminal history, Violation #2 charges Defendant with conduct that would be a

federal crime, that is, possession of oxymorphone. Such conduct would be a Class E Felony

pursuant to 21 U.S.C. § 844(a), Simple Possession of a Controlled Substance. This is a Grade B

violation.

       Magistrate Judge Edward B. Atkins conducted an initial appearance pursuant to Rule

32.1 on June 14, 2016, and set a final hearing following a knowing, voluntary, and intelligent

waiver of the right to a preliminary hearing. D.E. 1044. The United States moved for interim



                                                 2
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16            Page: 3 of 9 - Page
                                          ID#: 3694



detention and Defendant did not argue for release. Id. Based on the heavy defense burden under

18 U.S.C. § 3143(a), Defendant was remanded to the custody of the United States Marshal. Id.

       At the final hearing on June 22, 2016, Defendant was afforded all rights due under Rule

32.1 and 18 U.S.C. § 3583. D.E. 1056. Defendant competently entered a knowing, voluntary,

and intelligent stipulation to both violations. Id. For purposes of Rule 32.1 proceedings,

Defendant admitted the factual basis for both violations as described in the Report. In the

Supervised Release context, the Sixth Circuit treats controlled substance use as equivalent to

possession. See United States v. Crace, 207 F.3d 833, 836 (6th Cir. 2000). The United States

thus established both Violations #1 and #2 under the standard of § 3583(e).

       The Court has evaluated the entire record, the prior submissions to the Court, the Report

and accompanying documents, and the sentencing materials from the underlying Judgment in

this District. Additionally, the Court has considered all of the § 3553 factors imported into the §

3583(e) analysis. Under § 3583(e)(3), a defendant’s maximum penalty for a supervised release

violation hinges on the gravity of the underlying offense of conviction. Defendant pled guilty to

conspiracy to manufacture fifty grams or more of a methamphetamine mixture in violation of 21

U.S.C. § 846, which is a Class B felony. See 21 U.S.C. § 841; 18 U.S.C. § 3559. For a Class B

felony, the maximum revocation sentence provided under § 3583 is three years of imprisonment.

18 U.S.C. § 3583(e)(3). The Policy Statements in Chapter 7 of the Sentencing Guidelines

provide advisory imprisonment ranges for revocation premised on criminal history (at the time of

original sentencing) and the “grade” of the particular violation proven. See United States v.

Perez-Arellano, 212 F. App’x 436, 438–39 (6th Cir. 2007) (“Although the policy statements

found in Chapter Seven of the United States Sentencing Guidelines recommend ranges of

imprisonment, U.S.S.G. § 7B1.4, such statements ‘are merely advisory’ and need only be

                                                3
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 4 of 9 - Page
                                          ID#: 3695



considered by the district court before sentence is imposed.”) (citation omitted). Under § 7B1.1,

Defendant’s admitted conduct would qualify as a Grade C violation with respect to Violation #1

and a Grade B violation with respect to Violation #2. Given Defendant’s criminal history

category of I (the category at the time of the conviction in this District) and a Grade B violation,

see U.S.S.G § 7B1.2(b) (“Where there is more than one violation of the conditions of

supervision, or the violation includes conduct that constitutes more than one offense, the grade of

the violation is determined by the violation having the most serious grade.”), Defendant’s range,

under the Revocation Table of Chapter 7, is four to ten months.

       The United States argued for revocation and a term of imprisonment of ten months to be

followed by forty-eight months of supervised release. In support of this recommendation, the

United States first noted that Defendant’s underlying conviction was very serious. According to

counsel, a large scale methamphetamine conspiracy poses a significant threat to public safety,

and Defendant’s return to the use of controlled substances raises the risk he will return to such

criminal activity. Moreover, the United States asserted that the biggest aggravating factor for the

Court to consider is Defendant’s breach of the Court’s trust. According to the United States,

Defendant has been given multiple breaks in the form of the no action approvals by the Court,

but has continued to violate the terms of his supervision. Counsel argued that while Defendant’s

work ethic and honesty were mitigating factors, they are outweighed by Defendant’s breaches of

trust. Finally, the United States argued that four years of supervised release is necessary because

Defendant has only served a few months of his original four-year term of supervised release.

       Defense counsel argued for revocation and a term of imprisonment of four months to be

followed by a term of supervised release. In support of this recommendation, defense counsel

stated that there are multiple mitigating factors for the Court to consider. First, defense counsel

                                                 4
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 5 of 9 - Page
                                          ID#: 3696



noted that Defendant is an extremely hard worker and has maintained employment throughout

his term of supervision. Moreover, counsel asserted that Defendant has been honest with the

USPO about his drug use, and admitted his wrongful conduct. Counsel noted Defendant’s low

criminal history and asserted that he poses little to no threat to the public. Finally, defense

counsel agreed with the United States that supervised release is necessary as Defendant needs

help with his drug addiction. Defendant addressed the Court and stated he has a severe drug

addiction that has led him to commit criminal acts. He noted that all of his criminal actions have

been directly related to his drug problem. He further indicated that, regardless of his sentence,

he is going check into an inpatient substance abuse program upon release from confinement.

       At the outset, the Court notes that Congress does mandate revocation in a case of this

nature. By statute, the Court must revoke Defendant and impose imprisonment because he

possessed a controlled substance. See 18 U.S.C. § 3583(g)(1); see also United States v. Crace,

207 F.3d 833, 836 (6th Cir. 2000) (equating use with possession). The Sixth Circuit clearly and

repeatedly has equated drug use with possession, and Defendant’s admitted use in this context

undoubtedly results in application of § 3583(g)(1). See United States v. Metcalfe, 292 F. App’x

447, 450 n.2 (6th Cir. 2008) (“Mandatory revocation was . . . warranted under § 3583(g)(1), as

we have held that the use of a controlled substance constitutes possession under that

subsection.”). To determine an appropriate revocation term of imprisonment, the Court has

considered all the statutory factors imported into the § 3583(e) analysis, as well as the Guidelines

Range. The nature and circumstances of Defendant’s underlying conviction are serious. See

United States v. Johnson, 640 F.3d 195, 203 (6th Cir. 2001) (explaining that this sentencing

factor focuses upon the original offense rather than the violations of supervised release). A large

scale methamphetamine manufacturing conspiracy, such as the one Defendant was a part of,

                                                 5
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 6 of 9 - Page
                                          ID#: 3697



poses a significant danger to the community. Although Defendant played a small role in the

conspiracy and has not returned to manufacturing illegal drugs, his return to the use of controlled

substances is particularly troubling. Moreover, the need to protect the public and deter criminal

conduct is significant in this case as any use of controlled substances while on release constitutes

criminal conduct and endangers public safety.

        The Court has also considered Defendant’s history and characteristics which include

multiple mitigating factors. He is a hard worker and has demonstrated his ability to maintain

employment while on release. He has also consistently been forthcoming and honest in response

to all inquiries made by the USPO.        Moreover, due to his low criminal history category,

Defendant received a “safety valve” sentence on the underlying conviction pursuant to U.S.S.G.

§ 5C1.2. Despite these positives, Defendant has a severe drug addiction that he must get under

control. He acknowledges that he has significant problem, which is a commendable step, but his

repeated use of a variety of different controlled substances indicates that he does not appreciate

the severity of his addiction. If Defendant can put his addiction behind him, he can become a

valued, productive member of society. If he cannot, he will continue to commit criminal acts,

and spend significant amount of time incarcerated.

        The Court reminds Defendant that the Guidelines suggest that the primary wrong in the

supervised release context is the violation of the Court’s trust by an offender; the particular

conduct is an important but secondary issue. See Guidelines 7 Pt. A(3)(b) (“[A]t revocation the

court should sanction primarily the defendant’s breach of trust, while taking into account, to a

limited degree, the seriousness of the underlying violation and the criminal history of the

violator.”).



                                                 6
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 7 of 9 - Page
                                          ID#: 3698



       Defendant’s breach of the Court’s trust in this case is aggravating. Despite defense

counsel’s arguments that it was the USPO that placed trust in Defendant and not the Court, Judge

Van Tatenhove placed a significant amount of trust in Defendant by accepting the USPO’s

recommendation that no action be taken on Defendant’s prior violations.             Yet Defendant

continued to use controlled substances. This conduct not only illustrates Defendant’s severe

drug problem, but a lack of respect for the Court’s leniency and trust. This significant breach

warrants a term of imprisonment.

       Ultimately, the court recommends revocation and a sentence of seven months and, for the

reasons stated above, the Court finds such a term to be sufficient, but not greater than necessary,

to meet the section 3553(a) factors incorporated into this analysis. See 18 U.S.C. § 3583(e).

Moreover, the need to avoid unwarranted sentence disparities among defendants with similar

records who have committed similar violations is addressed by the recommendation of a

sentence within Defendant’s Guidelines Range. Seven months is in the middle of Defendant’s

Guidelines Range and reflects that Defendant’s conduct on release is troublesome, but that his

history and characteristics provide some mitigating effect.

       A court also may reimpose supervised release, following revocation, for a maximum

period that usually subtracts any term of incarceration actually imposed due to the violation. See

18 U.S.C. § 3583(b) & (h). The post-revocation cap depends on the “term of supervised release

authorized by statute for the offense that resulted in the original term of supervised release.” See

18 U.S.C. § 3583(h). The general supervision-term limits of § 3583(b) apply “[e]xcept as

otherwise provided.” See id. § 3583(b). Defendant’s conviction under 21 U.S.C. § 846, with

penalties described in 21 U.S.C. § 841, carried no maximum term of supervised release. Under

section 3583(h), there is no maximum here either. 18 U.S.C. § 3583(h). The Court recommends

                                                 7
Case: 6:13-cr-00020-GFVT-HAI           Doc #: 1057 Filed: 06/23/16           Page: 8 of 9 - Page
                                          ID#: 3699



that a term of supervised release be reimposed for forty-eight months, under the conditions

previously imposed, including that, upon release, Defendant shall be evaluated by the USPO for

eligibility for participation in a substance abuse program. Defendant needs to learn to control his

drug addiction, and a term of supervision will assist him in doing that.

       Based on the foregoing, the Court RECOMMENDS:

               1.      Revocation with a term of imprisonment of seven months; and

               2.      A term of supervised release of forty-eight months, under the conditions

               previously imposed at Docket Entry 662, including that, upon release, Defendant

               shall be evaluated by the USPO for eligibility for participation in a substance

               abuse program.

       Defendant’s right of allocution under Rule 32.1 is preserved, as reflected in the record.

Any waiver should comport with the Court’s standard waiver form, available from the Clerk.

Absent waiver, the matter will be placed on District Judge Van Tatenhove docket upon

submission.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights concerning this

recommendation, issued under subsection (B) of the statute. See also 18 U.S.C. § 3401(i). As

defined by § 636(b)(1), within fourteen days after being served with a copy of this recommended

decision, any party may serve and file written objections to any or all portions for consideration,

de novo, by the District Court. Failure to make timely objection consistent with the statute and

rule may, and normally will, result in waiver of further appeal to or review by the District Court

and Court of Appeals. See United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981); Thomas

v. Arn, 106 S. Ct. 466 (1985).



                                                 8
Case: 6:13-cr-00020-GFVT-HAI        Doc #: 1057 Filed: 06/23/16   Page: 9 of 9 - Page
                                       ID#: 3700



     This the 23rd day of June, 2016.




                                           9
